      Case 1:21-cr-00086-PLF Document 24 Filed 06/28/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      :
                                              :
       v.                                     : CRIMINAL NO. 21-CR-86
                                              :
ROBERT SANFORD,                               :
    Defendant.                                :


CONSENT MOTION TO CONTINUE STATUS HEARING AND FOR EXCLUDABLE
                           DELAY

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Status

Hearing in the above-captioned matter from June 30, 2021, until August 19, 2021. The

Government and the defendant agree that there is good cause to exclude time under the Speedy

Trial Act from June 30, 2021 until August 19, 2021. Defendant concurs in this request and

agrees that it is in his best interest. In support thereof, the government states as follows:

   1. The government and counsel for the defendant have conferred, and are continuing to

       communicate in an effort to resolve this matter short of trial.

   2. The parties, therefore, would respectfully request that the status hearing and the date

       by which an information or a trial must commence be continued until August 19, 2021.

       The parties agree that the failure to grant this continuance “would deny counsel for the

       defendant . . . the reasonable time necessary for effective preparation, taking into

       account the exercise of due diligence,” 18 U.S.C. § 3161(h)(7)(B)(iv). Therefore, “the

       ends of justice served by the granting of such continuance [will] outweigh the best

       interests of the public and the defendant in a speedy trial,” 18 U.S.C. § 3161(h)(7)(A),
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       Case 1:21-cr-00086-PLF Document 24 Filed 06/28/21 Page 2 of 3



        and the parties request an order to that end. The parties agree that pursuant to 18 U.S.C.

        § 3161, the time from June 30, 2021, through August 19, 2021, shall be excluded in

        computing the date for speedy trial in this case.



Wherefore, the parties respectfully request that the Court continue the status hearing in this

matter until August 19, 2021.

                                    Respectfully submitted,

                                    CHANNING D. PHILLIPS
                                    ACTING UNITED STATES ATTORNEY



                             By:     /s/ Janani Iyengar
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                                              2
       Case 1:21-cr-00086-PLF Document 24 Filed 06/28/21 Page 3 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA                      :
                                               :
         v.                                    : CRIMINAL NO. 21-CR-86
                                               :
 ROBERT SANFORD,                               :
     Defendant.                                :

                                             ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that, after taking into account the public interest in the prompt disposition of

criminal cases, good cause exists to continue the currently scheduled status hearing for June 30,

2021 to August 19, 2021; it is

        FURTHER ORDERED that the period from June 30, 2021 to August 19, 2021 be

excluded from computing the time within which a trial must commence under the Speedy Trial

Act because the ends of justice served by such a continuance outweigh the best interests of the

public and Defendant in a speedy trial. See 18 U.S.C. ' 3161(h)(7). The Court finds that the

parties are in discussions to reach a pre-trial resolution and to discuss discovery matters.

                                              It Is So Ordered.

                                              ______________________________________
                                              PAUL L. FRIEDMAN
                                              United States District Judge

Entered: ___________________________




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